

ORDER

The United States Trustee appeals a decision of the Bankruptcy Appellate Panel (BAP) that affirms the bankruptcy court’s final order approving an administrative claim and disbursement of funds from the bankruptcy estate, including $1,250.20 in compensation to the Chapter 7 debtor’s attorneys. The appellee waived the filing of a brief in this appeal. After the Trustee had filed his brief, the Supreme Court granted certiorari in Lamie v. United States Trustee, 538 U.S. 905, 123 S.Ct. 1480, 155 L.Ed.2d 223 (2003), to resolve a circuit split as to whether 11 U.S.C. § 330(a)(1) permits compensation to Chapter 7 debtor’s attorneys who are not separately qualified under 11 U.S.C. § 327. This appeal was placed in abeyance pending the outcome of that decision. The Court has now issued its decision holding that such fees may not be paid from the bankruptcy estate. Lamie v. United States Trustee, 540 U.S. 526, 124 S.Ct. 1023, 157 L.Ed.2d 1024 (2004). The Trus*351tee moves for summary reversal of the BAP’s decision in light of Lamie.
The BAP’s order of October 4, 2001, hereby is REVERSED, and this matter is remanded for further proceedings as necessary.
